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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                (MARSHALL DIVISION)


 CELLULAR COMMUNICATIONS                           §
 EQUIPMENT LLC,                                    §
                                                   §
          Plaintiff,                               §          C.A. No. ____
                                                   §
 v.                                                §          JURY TRIAL DEMANDED
                                                   §
 HMD GLOBAL OY,                                    §
                                                   §
           Defendant.                              §

         PLAINTIFF’S ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Cellular Communications Equipment LLC (“CCE” or “Plaintiff”) files this

Original Complaint against Defendant HMD Global Oy (“HMD” or “Defendant”) for infringement

of U.S. Patent No. 7,218,923 (“the ’923 patent” or “the patent-in-suit”).

                                          THE PARTIES

         1.      CCE is a Texas limited liability company with its principal place of business in

Plano, Texas.

         2.      On information and belief, Defendant is a Finish corporation with places of

business at Karaportti 2, FIN-02610, Espoo, Finland and Level 4, 4 Kingdom Street, Paddington

Central, London W26BD. Upon information and belief, HMD sells and offers to sell products and

services throughout Texas, including in this judicial district, and introduces products and services

that perform infringing processes into the stream of commerce knowing that they would be sold in

Texas and this judicial District.

                                    JURISDICTION AND VENUE

         3.      This action arises under the patent laws of the United States, namely 35 U.S.C. §§

271, 281, and 284-285, among others.
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        4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a).

        5.      Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(c). Defendant

is a foreign entity and may be sued in any judicial district under 28 U.S.C. § 1391(c)(3).

        6.      On information and belief, Defendant is subject to this Court’s specific and general

personal jurisdiction pursuant to due process and/or the Texas Long Arm Statute, due at least to

its substantial business in this State and judicial district, including: (A) at least part of its infringing

activities alleged herein; and (B) regularly doing or soliciting business, engaging in other persistent

conduct, and/or deriving substantial revenue from goods sold and services provided to Texas

residents. For example, Defendant designs, develops, manufactures, assembles and markets

smartphones that include the Android Messaging app and arranges for such phones to be offered

for sale in this District.

        7.      This Court has personal jurisdiction over Defendant, directly or through

intermediaries, including its wholly-owned subsidiaries, because it has committed acts within

Texas giving rise to this action and/or has established minimum contacts with Texas such that

personal jurisdiction over Defendant would not offend traditional notions of fair play and

substantial justice.

        8.      On information and belief, Defendant has placed and continues to place infringing

smartphones into the stream of commerce via an established distribution channel with the

knowledge and/or intent that those products were sold and continue to be sold in the United States

and Texas, including in this District.




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       9.      On information and belief, Defendant has significant ties to, and presence in, the

State of Texas and the Eastern District of Texas, making venue in this judicial district both proper

and convenient for this action.

                                    THE PATENT-IN-SUIT

       10.     The ʼ923 patent is titled “Control of Terminal Applications in a Network

Environment.” The inventions claimed in the patent-in-suit generally relate to a new and novel

approach to controlling the permissions of applications operating on a mobile device. And more

particularly, the inventions relate to controlling the messaging permissions of such applications.

       11.     The ʼ923 patent lawfully issued on May 15, 2007.

       12.     The named inventors on the patent-in-suit are Auvo Hartikainen, Kari Silfverberg,

Markku Kontio, Kari Miettinen, Isaac De La Pena, Elina Aho, Arto Tiihonen, Arto Pussinen, and

Juha P. Hartikainen.

       13.     Each asserted claim in the patent-in-suit is presumed valid.

       14.     Each asserted claim in the patent-in-suit is directed to patent eligible subject matter

under 35 U.S.C. § 101.

       15.     The specification of the patent-in-suit discloses shortcomings in the prior art and

then explains, in detail, the technical way the inventions claimed in the patent-in-suit resolve or

overcome those shortcomings. As the patent-in-suit explains, there is a desire for mobile devices

to “provide an open development platform for application developers.” ’923 Patent, 1:32-33.

While this open development platform offers tremendous benefits, it also opens the door to “the

possibility of fraudulent applications.” Id. at 1:38-39. Left unchecked, this could allow for

malicious applications to behave contrary to the agreements made with the network operator or

send premium SMS messages at the user’s expense. See id. at 1:43-47. The ’923 Patent recognized


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this drawback and introduced a solution to allow the mobile device to eliminate the possibility of

misuse by a malicious application. Id. at 1:53-58.

                                          COUNT I
                          (Infringement of U.S. Patent No. 7,218,923)

         16.   Plaintiff incorporates paragraphs 1 through 15 herein by reference.

         17.   This cause of action arises under the patent laws of the United States, and in

particular, 35 U.S.C. §§ 271, et seq.

         18.   Plaintiff is the owner of the ’923 patent with all substantial rights to the ’923 patent

including the exclusive right to enforce, sue, and recover damages for past and future infringement.

         19.   The ’923 patent is valid, enforceable and was duly issued in fully compliance with

Title 35 of the United States Code.

                       DIRECT INFRINGEMENT (35 U.S.C. §271(a))

         20.   Defendant has, and continues to, infringe one or more claims of the ’923 patent in

this judicial district and elsewhere in Texas and the United States.

         21.   On information and belief, Defendant has, and continues to, either by itself or via

an agent, infringe at least claim 1 of the ’923 patent by, among other things, practicing the method

of claim 1 via at least its testing of the native Messaging application in its Android phones (“the

Accused Products”).

         22.   Attached hereto as Exhibit A, and incorporated herein by reference, is a claim chart

detailing how the Accused Products infringe the ʼ923 patent.

         23.   Defendant is liable for these infringements of the ’923 patent pursuant to 35 U.S.C.

§ 271.




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             INDIRECT INFRINGEMENT (INDUCEMENT - 35 U.S.C. §271(b))

       24.     Based on the information presently available to Plaintiff, absent discovery, and in

the alternative to direct infringement, Plaintiff contends that Defendant has, and continues to,

indirectly infringe one or more claims of the ’923 patent by inducing direct infringement by end

users of the Accused Products.

       25.     Defendant has had knowledge of the ’923 patent since at least the service of this

Complaint.

       26.     On information and belief, despite having knowledge of the ’923 patent, Defendant

has specifically intended for persons who acquire and use the Accused Products, including

Defendant’s customers and end consumers, to acquire and/or use such devices in a way that

infringes the ’923 patent, including at least claim 1, and Defendant knew or should have known

that its actions were inducing infringement.

       27.     Defendant instructs and encourages users to use the Accused Products in a manner

that infringes the ’923 patent. For example, Defendant’s user guides for its phones provide end

users detailed instructions on how to use the Android Messaging app in the Accused Products. In

addition, Defendant’s website includes support articles with detailed instructions on how to use

the Android Messaging app in the Accused Products.

       28.     Furthermore, Defendant has not provided any information or indication that it has

implemented a design around or otherwise taken any remedial action with respect to the ’923

patent. In accordance with Fed. R. Civ. P. 11(b)(3), Plaintiff will likely have additional evidentiary

support after a reasonable opportunity for discovery on this issue.

       29.     Plaintiff has been damaged as a result of Defendant’s infringing conduct described

in this Count. Defendant is, thus, liable to Plaintiff in an amount that adequately compensates


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Plaintiff for Defendant’s infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                         JURY DEMAND

         Plaintiff requests a trial by jury pursuant to Rule 38 of the Federal Rules of Civil

 Procedure.

                                     PRAYER FOR RELIEF

         Plaintiff asks that the Court find in its favor and against Defendant and that the Court grant

 Plaintiff the following relief:

         a.      Judgment that one or more claims of the ’923 patent have been infringed, either
                 literally and/or under the doctrine of equivalents, by Defendant;

         b.      Judgment that one or more claims of the ʼ923 patent have been willfully
                 infringed, either literally and/or under the doctrine of equivalents, by Defendant;

         c.      Judgment that Defendant account for and pay to Plaintiff all damages and costs
                 incurred by Plaintiff because of Defendant’s infringing activities and other
                 conduct complained of herein, including an accounting for any sales or damages
                 not presented at trial;

         d.      Judgment that Defendant account for and pay to Plaintiff a reasonable, ongoing,
                 post judgment royalty because of Defendant’s infringing activities, including
                 continuing infringing activities, and other conduct complained of herein;

         e.      That Plaintiff be granted pre-judgment and post judgment interest on the damages
                 caused by Defendant’s infringing activities and other conduct complained of
                 herein;

         f.      Find this case exceptional under the provisions of 35 U.S.C. § 285 and award
                 enhanced damages;

         g.      Plaintiff seeks preliminary and permanent injunctions as a result of Defendant’s
                 infringement of the ʼ923 patent. Plaintiff is likely to succeed in showing that
                 Defendant infringes the ʼ923 patent. Because of that infringement, Plaintiff has
                 suffered an irreparable injury, and the remedies available at law, such as
                 monetary damages, are inadequate to compensate for that injury. For example, if
                 Plaintiff must enforce a judgment against Defendant in China, Plaintiff will face
                 a historically challenging burden in persuading a Chinese court to enforce a
                 judgment from a U.S. court, likely preventing Plaintiff from obtaining any

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                monetary damages from Defendant. Considering the balance of hardships
                between the Plaintiff and Defendant, a remedy in equity is warranted; and the
                public interest would not be disserved by a permanent or preliminary injunction;
                and

        h.      That Plaintiff be granted such other and further relief as the Court may deem just
                and proper under the circumstances.



Dated: March 17, 2020                                Respectfully submitted,

                                                     By: /s/ Jeffrey R. Bragalone
                                                     Jeffrey R. Bragalone (lead attorney)
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                                                     Texas Bar No. 24064043

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